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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF TEXAS
                                MARSHALL DIVISION

IMPLICIT, LLC,                                §
                                              §
                Plaintiff,                    §
                                              §
v.                                            §
                                              §
NETSCOUT SYSTEMS, INC.,                       §   CIVIL ACTION NO. 2:18-CV-00053-JRG
                                              §   (LEAD)
                                              §
                                              §
SANDVINE CORPORATION                          §   CIVIL ACTION NO. 2:18-CV-00054-JRG
                                              §   (MEMBER)
                Defendants.                   §


                    MINUTES FOR PRETRIAL CONFERENCE
             HELD BEFORE U. S. DISTRICT JUDGE RODNEY GILSTRAP
                                 November 13, 2019

OPEN: 9:07 a.m.                                                     ADJOURN: 2:20 p.m.

 ATTORNEYS FOR PLAINTIFF:                    See attached.

 ATTORNEYS FOR DEFENDANTS:                   See attached.

 LAW CLERKS:                                 Taylor Fitzner
                                             Christian Chessman

 COURT REPORTER:                             Shelly Holmes, CSR-TCRR

 COURTROOM DEPUTY:                           Jan Lockhart


 TIME          MINUTES
 9:07 a.m.     Court opened. Mr. Davis and Ms. Smith introduced co-counsel. Counsel announced
               ready for hearing.
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 TIME       MINUTES
            The Court gave the parties instructions for Jury Selection and Trial. Jury Selection will
            be held on either Monday December 9, 2019 or Monday, December 16, 2019. A written
            Order will follow concerning trial scheduling. Opening statements and evidence are
            scheduled to begin after Jury Selection. The Court and staff are in chambers each
            morning at 7:30 a.m. The trial will start each day at 8:30 a.m. Exhibits used the prior
            day will be read into the record prior to the jurors returning to the courtroom (usually
            around 8:15 a.m.). The Court allotted 11 hours per side to try the case (this time does
            not include the time for voir dire, opening statements and closing arguments); 30 minutes
            a side for voir dire (of this time, a 3-minute, high level, overview of the case may be
            given); 30 minutes for opening statements and 40 minutes a side for closing arguments;
            8-member jury to be selected (four strikes per side); procedures for disputes discussed.
            Court to be notified by 10:00 p.m. each night of disputes re demonstratives to be used
            the next day, or that there are no disputes. Binders with disputed information are to be
            prepared and submitted to the Court at 7:00 a.m. the following day. Deposition disputes
            are to be given to the Court the day before they are going to be used. Rule 50(a) motions
            will be heard after ALL evidence is concluded. The informal charge conference will be
            held in chambers after Rule 50(a) motions are heard. A formal charge conference will
            follow afterward. The Court discussed policies and the Standing Order regarding the
            sealing of the courtroom. Juror questionnaires and the manner of use thereof were
            discussed, i.e., copies of the Juror Questionnaire may be obtained from the Deputy-in-
            Charge, Kecia Clendening. Juror notebooks are to be prepared by counsel and delivered
            to the Court by 3:00 p.m. on December 5, 2019. Each notebook should include the
            Patents-in-Suit, the Court’s claim construction chart, tabbed witness pages (each witness
            page should contain a head and shoulders photograph of the witness followed by ruled
            lines on the remainder of the page), a 3-hole punched legal pad and a non-clicking pen.
            The Court also gave guidance regarding expert witness testimony. Exhibits will be pre-
            admitted. Only exhibits used during the trial will be considered as part of record.
            Witness lists are to be revised and filed by the parties within 24 hours as to May Call
            Witnesses and Will Call Witnesses. The Court set aside November 26, 2019 at 9:00 a.m.
            for an additional pretrial, if needed.
            The Court heard argument on the Sealed Patent Motion to Exclude Dr. Keith Ugone’s
            Reasonable Royalty Calculation and Opinions Regarding Damages filed by Netscout
            Systems, Inc. and Sandvine Corporation (Dkt. No. 141). Mr. Kean argued for
            Defendants. Mr. Hosie argued for Plaintiff. The Court ruled on the motion for the
            reasons and in the manner set forth at the hearing and granted leave to Plaintiff to
            supplement Dr. Ugone’s report.
 9:53 a.m. The Court heard argument on Defendants’ Motion for Summary Judgment of Non-
            Infringement (Dkt. No. 142). Mr. Buresh argued for Defendants. Mr. Hurt argued for
            Plaintiff. The Court DENIED the motion.
 10:30 a.m. The Court DENIED Defendants’ Motion to Exclude Portions Dr. Kevin C. Almeroth’s
            Opinions Regarding Infringement (Dkt. No. 143).




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 TIME       MINUTES
 10:45 a.m. Court reconvened.
 10:47 a.m. Courtroom sealed. The Court heard argument on the Plaintiff’s Daubert Motion to
            Exclude Portions of NetScout Systems, Inc. and Sandvine Corporation’s Invalidity
            Expert Report and Testimony (Dkt. No. 144) and Plaintiff’s Motion for Partial Summary
            Judgment (Dkt. No. 145). Mr. Martin argued for Plaintiff. Mr. Buresh argued for
            Defendants. The Court DENIED both motions.
            Courtroom unsealed at 11:02 a.m.
 11:03 a.m. The Joint Stipulation was noted by the Court pertaining to Dkt. Nos. 196 and 183. The
            Court adopted the agreement in the document and are to be considered rulings on
            Motions in Limine by the Court.
 11:05 a.m. The Court heard argument on the parties’ Group 1 -- Prior Implicit Litigations, NetScout
            Litigation and PTO Proceedings. Category Plaintiff’s Motions in Limine 3 and
            Defendants’ Motion in Limine 11 Mr. Davis argued for Plaintiff. Mr. Buresh argued for
            Defendants. The Court GRANTED Defendants’ Motion in Limine 11 for the reasons set
            forth at the hearing. The Court DENIED-AS-MOOT Plaintiff’s Motion in Limine 3.
 11:13 a.m. The Court heard argument on the parties Group 2 -- Defendants’ Prior Testimony –
            Defendants’ Motion in Limine 10. Mr. Buresh argued for Defendants. Mr. Davis argued
            for Plaintiff. The Court GRANTED the Motion in Limine for the limited purposes
            discussed at the hearing.
 11:19 a.m. The Court heard argument on the parties’ Group 3 – Back-Pay Dispute – Plaintiff’s
            motion in Limine No. 2. Mr. Hosie argued for Plaintiff. Mr. Kean argued for Defendant.
            The Court GRANTED the Motion in Limine.
 11:23 a.m. The Court heard argument on the parties’ Group 4 – Settlement licenses – Defendants’
            Motions in Limine 3 and 4. Mr. Kean argued for Defendant. Mr. Hosie argued for
            Plaintiff. The Court DENIED Defendants’ Motion in Limine 3. The Court DENIED
            Defendants’ Motion in Limine 4.
 11:27 a.m. The Court heard argument on the parties’ Group 5 – Royalty Base – Defendants’ Motion
            in Limine 5. Mr. Kean argued for Defendants. Mr. Martin argued for Plaintiff. The
            Court DENIED the motion.
 11:31 a.m. Mr. Kean WITHDREW NetScout’s Motion in Limine 12.
 11:32 a.m. The Court heard argument on Group 7 – References to Prior Art – Defendants’ Common
            Motion in Limine 1 – Mr. Buresh argued for Defendant. Mr. Martin argued for Plaintiff.
            The Court DENIED the Motion in Limine.
 11:39 a.m. The Court heard argument on Group 8 – Reduction to Practice – Defendants’ Motion in
            Limine 2 – Mr. Buresh argued for Defendants. Mr. Hosie argued for Plaintiff. The Court
            DENIED the Motion in Limine in all respects except as agreed by the parties.
 11:47 a.m. The Court heard argument on Group 9 – Stealing & Pilfering – Defendants’ Motion in
            Limine 8 – Mr. Buresh argued for Defendants. Mr. Hosie argued for Plaintiff. The Court
            GRANTED the Motion in Limine.
 11:53 a.m. Lunch recess. Parties to meet and confer regarding exhibits until 2:00 p.m.
 2:19 p.m. Court reconvened. Mr. Davis and Ms. Smith confirmed that all exhibit disputes had been
            resolved. The parties will file updated exhibit lists.
 2:20 p.m. Court adjourned.




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